        Case 4:05-cr-00059-JRH-CLR Document 1232 Filed 04/20/09 Page 1 of 4



   UNITED STATES DISTRICT COURT                   suppression by the prosecution of evidence
   SOUTHERN DISTRICT OF GEORGIA                   favorable to an accused upon request violates
        SAVANNAH DIVISION                         due process where the evidence is material
                                                  either to guilt or to punishment, irrespective of
UNITED STATES OF AMERICA                          the good faith or bad faith of the
                                                  prosecution...”); see also Giglio v. U.S., 405
v. 405CR059
                                                  U.S. 150, 154 (1972) (impeachment evidence
MARTIN J. BRADLEY III, et al.,                    falls within Brady rule). To succeed on a
                                                  Brady claim, the defendants must show that
Defendants.                                       “(1) the government possessed favorable
                                                  evidence to the defendant; (2) the defendant
                   ORDER                          does not possess the evidence and could not
                                                  obtain the evidence with any reasonable
   I.       BACKGROUND                            diligence; (3) the prosecution suppressed the
                                                  favorable evidence; and (4) had the evidence
     In September of 2005 a two hundred and       been disclosed to the defendant, there is a
eighty-six count superseding indictment was       reasonable probability that the outcome would
returned against the defendants in a complex      have been different.” U.S. v. Vallejo, 297 F.3d
criminal RICO prosecution stemming from           1154, 1164 (11th Cir. 2002).
numerous fraud schemes involving the
purchase and sale of prescription medications.        A defendant alleging a Brady violation
Doc. # 228. After a six-week trial in which       “must show that the favorable evidence was
the government called 89 witnesses to testify,    possessed by a district’s prosecution team,”
the jury returned verdicts of guilty against      which includes both investigative and
defendants Martin J. Bradley Jr., Martin J.       prosecutorial personnel, and anyone over
Bradley III, Bio-Med Plus, Inc. (Bio-Med),        whom the prosecutor has authority. Moon v.
and Albert Tellechea. Before the Court are        Head, 285 F.3d 1301, 1309 (11th Cir. 2002).
two motions for a new trial. Doc. ## 1219,        Furthermore, “[a] prosecutor has no duty to
1221. In one motion, the defendants jointly       undertake a fishing expedition in other
move for a new trial based on what they claim     jurisdictions in an effort to find potentially
was the prosecution’s improper withholding of     impeaching evidence every time a criminal
evidence that could have been used to             defendant makes a Brady request for
impeach a prosecution witness. Doc. # 1221.       information regarding a government witness.”
Additionally, defendant Bradley Jr. moves for     Id. (citation omitted).
a new trial based on newly discovered
evidence relevant to his competence to stand          Defendants allege that at the time he was
trial. Doc. # 1219.                               assisting the prosecution in this case, Pinkoff
                                                  was also the target of a criminal investigation
   II.      SUPPRESSION OF BRADY                  (the Pinkoff Investigation) 1 concerning the
            EVIDENCE                              distribution of controlled substances. That
                                                  investigation resulted in an indictment and
    Defendants allege that they have a right to
a new trial based on the government’s failure
to provide potential impeachment evidence         1
                                                   For purposes of simplicity, the Court will refer to this
against Lawrence Pinkoff – a prosecution          as the “Pinkoff Investigation.” However, Pinkoff does
witness – as required by Brady v. Maryland.       not appear to have been the original target of the
                                                  investigation and was one of many individuals
373 U.S. 83, 87 (1963) (holding that “the         implicated in a broad conspiracy. See doc. # 1221-11.
      Case 4:05-cr-00059-JRH-CLR Document 1232 Filed 04/20/09 Page 2 of 4




subsequent prosecution of twenty-one                    investigative team and the Bradley
defendants, including Pinkoff. The indictment           prosecution team. 2 Moreover, even if the
was returned on 2/6/07 – ten months after the           Court were to find that the Bradley
jury in this case reached its verdict on 3/31/06.       prosecution team had imputed or actual
Doc. # 1221-3. Defendants assert that                   knowledge of a criminal investigation against
evidence of this criminal investigation against         Pinkoff, the Court does not find a Brady
Pinkoff should have been disclosed as                   violation because there has been no showing
impeachment evidence against him.                       of a reasonable probability that this
                                                        impeachment evidence would have led to a
    The Bradley prosecution has denied under            different result at trial. “A ‘reasonable
oath that it had any knowledge of Pinkoff’s             probability’ of a different result is ... shown
illegal activities charged in the indictment.           when the government’s evidentiary
Doc. # 1225 at 15, # 1221-26 at 23.                     suppression ‘undermines confidence in the
Nevertheless, the defendants claim that the             outcome of the trial.’” Kyles v. Whitley, 514
prosecution had imputed knowledge, because              U.S. 419, 434 (1995) (quoting U.S. v. Bagley,
the agencies involved in the Pinkoff                    473 U.S. 667, 678 (1985)). “The question is
investigation were also members of the                  not whether the defendant would more likely
Bradley prosecution team.                               than not have received a different verdict with
                                                        the evidence, but whether in its absence he
    The Pinkoff investigation was conducted             received a fair trial, understood as a trial
primarily by the Drug Enforcement                       resulting in a verdict worthy of confidence.”
Administration (DEA) and the United States              Id.
Attorney’s Office in the Southern District of
Florida. See doc. # 1221-2 at 6. The                        During the Bradley trial, the government
defendants provide no support for their                 called eighty-nine witnesses who offered
assertion that either of those entities was             evidence against the defendants. Pinkoff was
connected to the Bradley case. Rather, they             only one of those. The defendants argue that
assert that other agencies, namely the Food
and Drug Administration (FDA) and the                   2
                                                          For example, with respect to the FDA, the defendants
Internal Revenue Service (IRS) were involved            claim that a prosecutor involved in the Pinkoff
in both the Pinkoff and the Bradley                     investigation “openly conceded that the FDA was
investigations. The government admits that              involved in the [Pinkoff] investigation,” doc. # 1221-2
agents of the FDA and IRS were part of the              at 25, by way of the FDA having conducted an
Bradley prosecution team, doc. # 1225 at 12,            interview with one of Pinkoff’s co-conspirators. The
                                                        government correctly notes that this misrepresents the
but it is far from clear that these agencies were       prosecutor’s statement. The prosecutor admitted that
involved in the Pinkoff investigation.                  the FDA had interviewed one of Pinkoff’s co-
                                                        conspirators years earlier, but she expressly stated that
   The Court need not unravel the factual               the subject matter of those discussions was different
complexities of the involvement of various              from the subject matter of the Pinkoff indictment. Doc.
                                                        # 1221-25 at 3 fj 3.
agencies and individuals in the Bradley case
and the Pinkoff investigation. From a                      As an additional example, the defendants assert that
thorough review of the parties’ briefs and              the IRS was part of both the Bradley and Pinkoff
supporting evidence, the Court is generally             prosecution teams, doc. # 1221-2 at 13, 32, but the only
convinced that the government has                       evidence they offer in support of this conclusion is the
                                                        fact that Pinkoff admitted during his trial that the IRS
successfully refuted defendants’ claims that            had interviewed him as part of the Bradley investigation
there was overlap between the Pinkoff                   in 2001 – long before the Pinkoff investigation began in
                                                        2003. Doc. # 1221-2 at 25.

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      Case 4:05-cr-00059-JRH-CLR Document 1232 Filed 04/20/09 Page 3 of 4




“[t]he underlying evidence that Pinkoff had                III. NEWLY DISCOVERED
engaged in post-cooperation criminal conduct,                     COMPETENCY EVIDENCE
and double-dealing with the government, and                 Defendant Martin Bradley, Jr. (hereinafter
that possible drug trafficking charges were             “Bradley”) also moves for a new trial based
lurking ... would have revealed Pinkoff’s               on newly discovered evidence as to his
motive to please the prosecutors.” Doc. #               competence to stand trial. Doc. # 1219.
 1221-2 at 32. Yet, at trial, the defense counsel       Prior to his criminal trial Bradley moved for a
launched a fierce attack on Pinkoff’s                   competency hearing under 18 U.S.C. § 4241,
credibility during cross examination. Pinkoff
                                                        stating that dementia rendered him unable to
admitted that he had committed perjury on               assist properly in his defense. Doc. # 288. He
multiple occasions (including during the time
                                                        submitted reports from his own experts that
he had been cooperating with the                        supported his claim of incompetence. The
government), doc. # 669 at 403-406, 412, that
                                                        magistrate judge then ordered a mental
he had committed various crimes for which he            evaluation from the Federal Medical Center
was on probation, id. at 424, that he had               (FMC) in Butner, North Carolina which
entered a plea agreement for racketeering and           resulted in a report (the Butner Report)
Medicaid fraud charges, id. at 415, and that            concluding that Bradley was competent to
his assistance to the prosecution was being             stand trial. Doc. # 290. After considering the
provided pursuant to a plea agreement, id. at           Butner Report and the findings of Bradley’s
422. Thus, defense counsel’s cross-
                                                        experts, the magistrate judge issued a report
examination made it abundantly clear to any             and recommendation (R&R) finding that
juror that Pinkoff was not a trustworthy
                                                        Bradley was competent to stand trial. Doc. #
character, was a criminal, and that he was              349. The Court issued an order adopting the
testifying against the defendants in order to           R&R over Bradley’s objections. Doc. ## 386,
save his own skin. Any additional evidence
                                                        393.
that could have been used to impeach
Pinkoff’s testimony would have been                        Bradley now contends that there is newly
cumulative and does not support the finding of          discovered evidence that should have been
a Brady violation. See Baxter v. Thomas, 45             considered by the Court. He has submitted a
F.3d 1501, 1507-08 (11th Cir. 1995)                     copy of the notes that were prepared by
(cumulative impeachment evidence did not                neurologist Tadeusz Federico Poplawski,
rise to level of Brady violation); U.S. v.              M.D., in connection with the Butner Report.
 Valera, 845 F.2d 923, 928 (11th Cir. 1988)             Doc. # 1219. Bradley suggests that Dr.
(same).                                                 Poplawski’s notes are generally consistent
                                                        with Bradley’s expert physicians and
     Thus, even if the government possessed             challenges the Court’s finding that he was
and should have disclosed information                   competent to stand trial. Id. He moves under
regarding the Pinkoff investigation to the              F.R.Crim.P. Rule 33 for “a new trial and/or
defense, such failure was immaterial and                such other relief as the Court deems
cannot be said to undermine confidence in the           appropriate.” Id.
outcome of the trial. As no evidentiary                      The Court assumes, arguendo, that Rule
hearing can cure this defect in the defendants’         33 provides a basis for the Court to reconsider
Brady claim, the Court denies the request for           its determination that Bradley was competent
such a hearing.




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       Case 4:05-cr-00059-JRH-CLR Document 1232 Filed 04/20/09 Page 4 of 4




to stand trial in light of Poplawski’s report. 3                     Poplawski’s notes also reference “[m]ajor
Rule 33 motions on the grounds of newly                          discrepancies on testing of memory suggesting
discovered must be viewed with “great                            pseudo memory dysfunction.” Doc. # 1219-2.
caution.” U.S. v. Reed, 887 F.2d 1398, 1404                      However, the Court based its conclusion that
(11th Cir. 1989) (quotes and cite omitted). A                    Bradley was competent to stand trial, in part,
party seeking “new trial” relief based on                        on “evidence that defendant may have
newly discovered evidence must demonstrate                       intentionally exaggerated his memory deficits
that the evidence is of such a nature that a new                 on the evaluations at FMC.” Doc. # 349 at
trial would probably produce a new result. Id.                   18. Indeed, this finding is supported by
                                                                 Poplawski’s notes which state that he
    Poplawski’s notes state that Bradley
                                                                 “[c]annot rule out the possibility of severe
showed signs that were ‘very suggestive of
                                                                 embellishment.” Doc. # 1219-2 at 1.
pseudo dementia,’ and that Poplawski “[could
not] rule out some organic early stages of                          Ultimately, Poplawski’s notes were merely
dementia.” Doc. # 1219-2. The fact that                          a piece of a larger evaluation that was
Poplawski’s notes support an assessment of                       conducted by a team of professionals and
“pseudo dementia” is nothing new. Prior to                       which culminated in a comprehensive report.
this Court’s competency ruling, Bradley                          For a variety of reasons, the Court found the
objected to the Butner Report’s failure to                       Butner Report to be more credible than the
explain the findings of the unidentified                         conclusions reached by the defendants’
neurologist who had “apparently offered a                        experts. See doc. # 349 at 14-18. Poplawski’s
diagnosis of pseudodementia [sic] which is                       notes do not undermine the Butner Report’s
glossed over in the [Butner Report].” Doc. #                     conclusion, nor do they have any effect on this
386 at 11. Thus, while it was not known that                     Court’s conclusion that the Bradley was
Poplawski was the unidentified neurologist                       competent to stand trial.
when this Court ruled on Bradley’s
competency, the substance of Poplawski’s
findings was known and considered.                                  IV. CONCLUSION
                                                                    For the foregoing reasons, defendants’
                                                                 motions for a new trial are DENIED. Doc. ##
                                                                 1219, 1221.
3 There is some question as to whether Rule 33 is the
appropriate vehicle for the relief requested by Bradley.
Rule 33 provides for a new trial “if the interest of
justice so requires.” F.R.Crim.P. 33. Courts have
concluded that Rule 33 may afford a remedy when a                This 20th day of April 2009.
defendant comes forth with newly discovered evidence
regarding his competency at trial. See U.S. v. Herrera,
481 F.3d 1266 (10th Cir. 2007) (considering Rule 33
motion after defendant claimed that newly discovered
medical evidence showed that he was not competent to
stand trial); U.S. v. McCarthy, 54 F.3d 51 (2d Cir.
                                                                 S,
                                                                  R AVANT FT)ENFIELØ, RIDGE
                                                                  UNITED STATES DISTRICT COURT
 1995) (considering Rule 33 motion when defendant
discovered an interim psychiatric report after trial).            SOUTHERN DISTRICT OF GEORGIA
Yet, here, Bradley is not requesting a new trial; he
instead asserts that he should not have been deemed
competent to stand trial at all. Because he is not asking
for a “re-do” of his trial, the Court has its doubts as to
whether Rule 33 is applicable.


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